 1
     HARRIS L. COHEN, ESQ., State Bar # 119600
     HARRIS L. COHEN, A PROF. CORP.
 2   5305 Andasol Ave.
     Encino, CA 91316
 3
     tel (818) 905-5599 / fax (818) 905-5660
 4   Email: hcohen00@aol.com
 5
     JOYCE K. LAU (No. 267839)
     THE FULLER LAW FIRM, P.C.
 6   60 No. Keeble Ave.
     San Jose, CA 95126
 7   Telephone: (408)295-5595
     Facsimile: (408) 295-9852
 8
     joyce@fullerlawfirm.net
 9
     BERNARD J. KORNBERG (State Bar No. 252006)
10   MILLER NASH, LLP
     340 Golden Shore, Ste. 450
11   Long Beach, CA 90802
     Telephone: (562) 247-7622
12   Email: Bernard.kornberg@millernash.com
13
     Attorneys for Defendant, Milestone Financial, LLC
14
                           UNITED STATES BANKRUPTCY COURT
15
                          NORTHERN DISTRICT OF CALIFORNIA
16                             SAN FRANCISCO DIVISION
17

18   IN re                                  )   CASE NO. 20-30711
                                            )   CHAPTER 11
19
     MARK E. MOON                           )   ADV NO. 22-03106
20                                          )
            Debtor,                         )   DECLARATION OF JOYCE K. LAU IN
21
     ____________________________           )   SUPPORT OF MOTION BY
22   MARK E. MOON,                          )   MILESTONE FINANCIAL, LLC FOR
                                            )   ATTORNEYS’ FEES AFTER
23
          Plaintiff,                        )   JUDGMENT
24   v.                                     )
     Milestone Financial, LLC, a California )
25
     Limited Liability Company              )   Date: August 2, 2024
26                                          )   Time: 10:30 a.m.
            Defendant.                      )   Dept. remote appearance
27    ____________________________          )
28


                                                1

        DECL. LAU IN SUPPORT OF MOTION BY MILESTONE FOR ATTORNEYS’ FEES
     Case: 22-03106 Doc# 65-4 Filed: 07/01/24
                                 AFTER        Entered: 07/01/24 14:31:03 Page 1 of
                                         JUDGMENT
                                          18
 1
                           DECLARATION OF JOYCE K. LAU
 2         I, Joyce K. Lau, hereby declare and state:
 3
           I am over the age of 18 and have personal knowledge as to all facts set forth
 4

 5   herein and if called upon to testify thereto I could and would competently do so.
 6
           1.      I am an attorney for Defendant, Milestone Financial, LLC.
 7

 8         2.      Attached hereto as Exhibit “1” are true and correct copies of my
 9
     billing statements for work on this case. The total hours for work I billed for is
10
     10.9 hours. This work includes some work that did not justify my hourly rate and
11

12   for which I billed at a lower rate ($175.00) as indicted on the bill. The time billed
13
     for Rodrigo Franco, our paralegal, is billed at $125.00 per hour.
14

15         3.      My services in this case included
16
                ➢ Assisting with the deposition of Robert Schuman, the key witness in
17

18
                   the case;

19              ➢ Attending scheduling conferences held by the Court;
20
                ➢ Attending the deposition of Robert Schuman;
21

22              ➢ Assisting with procuring documents from Kind Lending after the
23
                   subpoena was served on it and it did not timely respond and produce
24

25                 documents;
26

27

28


                                               2

        DECL. LAU IN SUPPORT OF MOTION BY MILESTONE FOR ATTORNEYS’ FEES
     Case: 22-03106 Doc# 65-4 Filed: 07/01/24
                                 AFTER        Entered: 07/01/24 14:31:03 Page 2 of
                                         JUDGMENT
                                          18
 1
                ➢ Assisted with the planned motion for contempt of Kind Lending, with
 2                 proof of my numerous attempts to have Kind Lending voluntarily
 3
                   comply with the subpoena; and
 4

 5              ➢ Attended the summary judgment hearing on February 23, 2024.
 6
           3.      My customary hourly rate for work of this type is $395.
 7

 8         4.      My Curriculum Vitae is attached hereto as Exhibit “2.”
 9
           5.      Attached as Exhibit “3” to this declaration are the invoices from Tally
10
     Court Reporters, Inc. for the deposition of Robert Schuman.
11

12         I declare under penalty of perjury under the laws of the State of California
13
     that the foregoing is true and correct. Executed at San Jose, California.
14

15

16

17

18
     Dated: July 1, 2024                     ___/s/ Joyce K. Lau______________

19                                           Joyce K. Lau
20

21

22

23

24

25

26

27

28


                                               3

        DECL. LAU IN SUPPORT OF MOTION BY MILESTONE FOR ATTORNEYS’ FEES
     Case: 22-03106 Doc# 65-4 Filed: 07/01/24
                                 AFTER        Entered: 07/01/24 14:31:03 Page 3 of
                                         JUDGMENT
                                          18
          EXHIBIT 1
Case: 22-03106   Doc# 65-4   Filed: 07/01/24   Entered: 07/01/24 14:31:03   Page 4 of
                                         18
        The Fuller Law Firm, P.C.                                                                                                 INVOICE
        60 N. Keeble Ave.                                                                                     Number                           362
        San Jose, CA 95126
        US                                                                                                    Issue Date                 11/2/2023
        Lars@fullerlawfirm.net
                                                                                                              Due Date                   12/2/2023
        Fullerlawfirm.net
        O: (408) 295-5595                                                                                     Email          wsmilestone@gmail.com


        Bill To:
        Milestone Financial LLC
        4970 El Camino Real, Suite 230
        Los Altos, CA 94022
        usa
        O: 650-316-8970




        Expenses

         Expenses                                                     Billed By                  Price                 Qty                    Sub

         Other professionals                                          Joyce Lau                $619.05                1.00                 $619.05
         10/25/2023
         docs from title company

                                                                                       Expenses Total:                1.00                 $619.05




                                                                                                         Total (USD)                     $619.05

                                                                                           Payment 2063 12/5/2023                         $-619.05
                                                                                                  check #3109 & 1097

                                                                                                            Balance                         $0.00




        Milestone Financial, LLC (Moon, E. Mark 20-30711)

        20-50711-HLB




I-362         Case: 22-03106               Doc# 65-4        Filed: 07/01/24       Entered: 07/01/24 14:31:03                   Page 5 of Page 1 of 1
                                                                        18
        The Fuller Law Firm, P.C.                                                                                          INVOICE
        60 N. Keeble Ave.                                                                             Number                            378
        San Jose, CA 95126
        US                                                                                            Issue Date                  12/4/2023
        Lars@fullerlawfirm.net
                                                                                                      Due Date                     1/3/2024
        Fullerlawfirm.net
        O: (408) 295-5595                                                                             Email           wsmilestone@gmail.com


        Bill To:
        Milestone Financial LLC
        4970 El Camino Real, Suite 230
        Los Altos, CA 94022
        usa
        O: 650-316-8970




        Flat Fees

         Flat Fees                                               Billed By                   Price             Qty                     Sub

         12/4/2023                                               JL                        $600.00            -1.00                $-600.00
         Discount

                                                                                   Flat Fees Total:           -1.00                $-600.00


        Time Entries

         Time Entries                                            Billed By                    Rate        Hours                        Sub

         Case Management                                         Joyce Lau                 $175.00            0.20                   $35.00
         11/1/2023
         efiled status conf stmt

         Appear for/attend                                       Joyce Lau                 $395.00            1.00                  $395.00
         11/3/2023
         scheduling conf

         Case Management                                         Rodrigo Franco            $125.00            3.50                  $437.50
         11/16/2023
         printed exhibits and bound them

         Appear for/attend                                       Joyce Lau                 $395.00            1.00                  $395.00
         11/17/2023
         deposition

         Case Management                                         Rodrigo Franco            $125.00            0.50                   $62.50
         11/17/2023
         rescheduled deposition

                                                                                     Time Entries             6.20                $1,325.00
                                                                                            Total


        Expenses

         Expenses                                                Billed By                   Price             Qty                     Sub

         Other professionals                                     Joyce Lau                 $350.00            1.00                  $350.00
         11/17/2023
         deposition; talty




I-378         Case: 22-03106               Doc# 65-4   Filed: 07/01/24       Entered: 07/01/24 14:31:03                 Page 6 of Page 1 of 2
                                                                   18
         Expenses                                                     Billed By                  Price                   Qty                Sub

         Other professionals                                          Joyce Lau                $545.00               1.00               $545.00
         11/30/2023
         service on Robert Schuman

         Other professionals                                          Joyce Lau                $130.00               1.00               $130.00
         11/30/2023
         service on Kind Lending LLC

         Postage                                                      Joyce Lau                 $41.20               1.00                $41.20
         11/3/2023
         FedEx check (witness fee)

         Other professionals                                          Joyce Lau                 $75.00               1.00                $75.00
         11/3/2023
         witness fee

                                                                                       Expenses Total:               5.00             $1,141.20




                                                                                                         Total (USD)                 $1,866.20

                                                                                           Payment 2070 12/6/2023                     $-1,866.20
                                                                                                           check #3142

                                                                                                            Balance                      $0.00




        Milestone Financial, LLC (Moon, E. Mark 20-30711)

        20-50711-HLB




I-378         Case: 22-03106               Doc# 65-4        Filed: 07/01/24       Entered: 07/01/24 14:31:03                   Page 7 of Page 2 of 2
                                                                        18
        The Fuller Law Firm, P.C.                                                                                                         INVOICE
        60 N. Keeble Ave.                                                                                            Number                            387
        San Jose, CA 95126
        US                                                                                                           Issue Date                   1/3/2024
        Lars@fullerlawfirm.net
                                                                                                                     Due Date                     2/2/2024
        Fullerlawfirm.net
        O: (408) 295-5595                                                                                            Email           wsmilestone@gmail.com


        Bill To:
        Milestone Financial LLC
        4970 El Camino Real, Suite 230
        Los Altos, CA 94022
        usa
        O: 650-316-8970




        Flat Fees

         Flat Fees                                                              Billed By                   Price             Qty                     Sub

         1/3/2024                                                               JL                        $140.96            -1.00                $-140.96
         Discount

                                                                                                  Flat Fees Total:           -1.00                $-140.96


        Time Entries

         Time Entries                                                           Billed By                    Rate        Hours                        Sub

         Appear for/attend                                                      Joyce Lau                 $395.00            0.30                  $118.50
         5/26/2023
         status conf

         Draft/revise                                                           Joyce Lau                 $395.00            0.50                  $197.50
         12/21/2023
         ltr to Kind Lending re subpoena

         Communicate (other external)                                           Joyce Lau                 $395.00            0.20                   $79.00
         12/21/2023
         spoke to Debbie at Kind Lending, left a vm for Tom Noto at its legal
         department

                                                                                                    Time Entries             1.00                  $395.00
                                                                                                           Total


        Expenses

         Expenses                                                               Billed By                   Price             Qty                     Sub

         Postage                                                                Flora Agosto                $3.36            3.00                   $10.08
         9/30/2022
         NOTICE OF HEARING ON
         MILESTONE FINANCIAL, LLC
         MOTION TO DISMISS SECOND,
         THIRD AND FIFTH CAUSES OF
         ACTION FOR VIOLATION OF 15
         U.S.C. 1639g AND 11 U.S.C. §105
         AND ATTORNEYS’ FEES




I-387         Case: 22-03106                 Doc# 65-4             Filed: 07/01/24          Entered: 07/01/24 14:31:03                 Page 8 of Page 1 of 2
                                                                               18
         Expenses                                                                  Billed By                  Price                   Qty               Sub

         Postage                                                                   Flora Agosto               $0.84               4.00                 $3.36
         6/26/2023
         1) Milestone Financial, LLC’s Opposition to Debtor’s Motion to Dismiss
         Chapter
         11 Case; Memorandum of Points and Authorities; Declarations of
         William
         Stuart and Bernard Kornberg
         2) Milestone Financial, LLC’s Evidentiary Objections to Declaration of
         Mark E.
         Moon re Debtor’s Motion to Dismiss Chapter 11 Case
         3) Milestone Financial, LLC’s Request for Judicial Notice in Support of
         Opposition to Debtor’s Motion to Dismiss Chapter 11 Case
         I

         Postage                                                                   Flora Agosto               $0.63               9.00                 $5.67
         8/4/2023
         1) Milestone Financial, LLC’s Supplemental Opposition to Debtor’s
         Motion to Dismiss Chapter 11 Case; Memorandum of Points and
         Authorities

         Other professionals                                                       Joyce Lau                $367.50               1.00               $367.50
         12/15/2023
         court reporter - depo of Schuman

         Postage                                                                   Joyce Lau                  $9.35               1.00                 $9.35
         12/18/2023
         postage

                                                                                                    Expenses Total:              18.00               $395.96




                                                                                                                      Total (USD)                   $650.00

                                                                                                        Payment 1161 1/25/2024                      $-650.00
                                                                                                                        check #1709

                                                                                                                         Balance                      $0.00




        Milestone Financial, LLC (Moon, E. Mark 20-30711)

        20-50711-HLB




I-387         Case: 22-03106                Doc# 65-4             Filed: 07/01/24              Entered: 07/01/24 14:31:03                   Page 9 of Page 2 of 2
                                                                              18
        The Fuller Law Firm, P.C.                                                                                                       INVOICE
        60 N. Keeble Ave.                                                                                          Number                            398
        San Jose, CA 95126
        US                                                                                                         Issue Date                  2/12/2024
        Lars@fullerlawfirm.net
                                                                                                                   Due Date                    3/13/2024
        Fullerlawfirm.net
        O: (408) 295-5595                                                                                          Email           wsmilestone@gmail.com


        Bill To:
        Milestone Financial LLC
        4970 El Camino Real, Suite 230
        Los Altos, CA 94022
        usa
        O: 650-316-8970




        Flat Fees

         Flat Fees                                                             Billed By                  Price             Qty                     Sub

         2/12/2024                                                             JL                        $57.90            -1.00                 $-57.90
         Discount

                                                                                                Flat Fees Total:           -1.00                 $-57.90


        Time Entries

         Time Entries                                                          Billed By                   Rate        Hours                        Sub

         Communicate (other external)                                          Joyce Lau                $395.00            0.10                   $39.50
         1/3/2024
         with Tom at Kind Lending re subpoena

         Communicate (other external)                                          Joyce Lau                $395.00            0.20                   $79.00
         1/9/2024
         with Kind Lending re subpoena

         Communicate (other external)                                          Joyce Lau                $395.00            0.10                   $39.50
         1/10/2024
         Thomas Noto - the receptionist said he has been informed of my call
         and would call me back

         Communicate (other external)                                          Joyce Lau                $395.00            0.10                   $39.50
         1/11/2024
         left a vm for Thomas Noto

         Draft/revise                                                          Joyce Lau                $395.00            0.70                  $276.50
         1/11/2024
         dec ISO motion to compel; compiled exhibits

                                                                                                  Time Entries             1.20                  $474.00
                                                                                                         Total


        Expenses

         Expenses                                                              Billed By                  Price             Qty                     Sub




I-398          Case: 22-03106                Doc# 65-4            Filed: 07/01/24          Entered: 07/01/24 14:31:03                 Page 10       Page 1 of 2
                                                                            of 18
         Deposition transcripts                                       Flora Agosto          $1,016.95               1.00        $1,016.95
         1/8/2024
         Certified copies of transcripts of Robert Schuman
         Exhibits, handling
         Go green Scripts Lit package

         Deposition transcripts                                       Flora Agosto          $1,566.95               1.00        $1,566.95
         1/19/2024
         Invoice #1216641 date 12/13/2023

                                                                                      Expenses Total:               2.00        $2,583.90




                                                                                                        Total (USD)            $3,000.00

                                                                                          Payment 2107 2/19/2024               $-3,000.00
                                                                                                          check #3377

                                                                                                           Balance                $0.00




        Milestone Financial, LLC (Moon, E. Mark 20-30711)

        20-50711-HLB




I-398          Case: 22-03106                 Doc# 65-4      Filed: 07/01/24     Entered: 07/01/24 14:31:03                Page 11   Page 2 of 2
                                                                       of 18
        The Fuller Law Firm, P.C.                                                                                                  INVOICE
        60 N. Keeble Ave.                                                                                    Number                             407
        San Jose, CA 95126
        US                                                                                                   Issue Date                    3/4/2024
        Lars@fullerlawfirm.net
                                                                                                             Due Date                      4/3/2024
        Fullerlawfirm.net
        O: (408) 295-5595                                                                                    Email            wsmilestone@gmail.com


        Bill To:
        Milestone Financial LLC
        4970 El Camino Real, Suite 230
        Los Altos, CA 94022
        usa
        O: 650-316-8970




        Flat Fees

         Flat Fees                                                   Billed By                  Price                   Qty                    Sub

         3/4/2024                                                    JL                       $237.50                -1.00                 $-237.50
         Discount

                                                                                      Flat Fees Total:               -1.00                 $-237.50


        Time Entries

         Time Entries                                                Billed By                   Rate              Hours                       Sub

         Appear for/attend                                           Joyce Lau                $395.00                2.50                   $987.50
         2/23/2024
         hrg on MSJ AP#2

                                                                                        Time Entries                 2.50                   $987.50
                                                                                               Total




                                                                                                        Total (USD)                       $750.00

                                                                                          Payment 2136 3/11/2024                           $-750.00
                                                                                                          check #3483

                                                                                                           Balance                           $0.00




        Milestone Financial, LLC (Moon, E. Mark 20-30711)

        20-50711-HLB




I-407          Case: 22-03106               Doc# 65-4       Filed: 07/01/24      Entered: 07/01/24 14:31:03                      Page 12       Page 1 of 1
                                                                      of 18
         EXHIBIT 2
Case: 22-03106   Doc# 65-4   Filed: 07/01/24   Entered: 07/01/24 14:31:03   Page 13
                                       of 18
                                           JOYCE K. LAU
             60 N Keeble Avenue, San Jose, CA 95126 ⬧ 408-295-5595 ⬧ joyce@fullerlawfirm.net

  BAR MEMBERSHIP
  Admitted in the State Bar of California (State bar number: 267839)                     December, 2009

  EXPERIENCE
  The Fuller Law Firm, P.C., San Jose, CA                                           January 2010 – present
  Bankruptcy – Representing Debtors
      • Managing Chapter 7, Chapter 13 and Chapter 11 cases in Northern District and Eastern District
          of California:
               o Consultation – meet new clients, collect information and discuss strategies;
               o Signoff – explain and review the Petition, Schedules, and relevant documents to clients;
               o Appearing at Initial Debtor Interview, Meeting of Creditors, confirmation hearings and
                   status conference;
               o Drafting Chapter 13 and Chapter 11 (including SubChapter V) plans;
               o Resolving and contesting objections raised by the Trustee and creditors;
               o Negotiating with creditors re: payments and interest rate;
               o Appearing at Contested Hearings on Plan Confirmation;
               o Counseling clients and negotiating with creditors re: Motions for Relief from Stay;
               o Modifying Plan – Review cases after bar date, file proof of claim for creditors;
               o Drafting motions – Motion to Value Collateral for Purposes of Voiding or Cramming
                   Lien, Motion to Incur Debt to Purchase Real Estate, Motion to Allow Mortgage Loan
                   Modification, Motion for Order to Allow Sale of Property, etc.;
               o Research on issues and drafted memos such as “whether it is good faith to contribute
                   to retirement during bankruptcy term” and “whether underwater real estate was
                   necessary for effective reorganization”;
               o Defending Chapter 7 clients in adversary proceedings re: non-dischargeability;
               o Filing Adversary Proceedings for injunctive relief, contempt for violation of the
                   automatic stay;
               o Trials (Motion to Value Collateral and Motion to Expunge Bankruptcy Records);
      • Preparing contents on website and brochure to explain bankruptcy process to clients;
      • Setting up procedures and protocols to improve efficiency in the office.

  Bankruptcy – Representing Creditors
     • Managing Chapter 7, Chapter 13 and Chapter 11 cases in Northern District and Eastern District
         of California:
              o Preparing proofs of claims;
              o Drafting Objection to Confirmation of Chapter 13 and Chapter 11 plans;
              o Negotiating with debtors re: payments and interest rate;
              o Appearing at Contested Hearings on Plan Confirmation;
              o Counseling clients and negotiating with debtors re: Motions for Relief from Stay and
                  drafting stipulations;
              o Drafting motions – Motion for Relief from the Automatic Stay, Motion to Allow
                  Mortgage Loan Modification, Motion to Dismiss case; and
              o Research on issues such as “interest rate to payoff short-term mortgages through the
                  plan”, “nature of default interest rate” and “whether interest rate on a residential
                  mortgage can be modified.”

  Unlawful Detainer – Representing Landlords in the Bay Area
      • Managing UD cases in Counties of Santa Clara, San Mateo, Alameda, Marin, San Francisco
             o Drafting Notice to Quit;
             o Drafting Complaints;

Case: 22-03106       Doc# 65-4       Filed: 07/01/24      Entered: 07/01/24 14:31:03           Page 14
                                               of 18
              o   Negotiating with Tenants; and
              o   Drafting stipulations.


  The Court of Appeal, Sixth Appellate District, San Jose, CA                 January 2009 – April 2009
  Judicial Extern for Justice Nathan Mihara
      • Prepared draft opinions, summarized appellate briefs of contract cases, criminal cases and
           family law cases for use during oral arguments.

  Katherine and George Alexander Community Law Center, San Jose, CA         January 2009 – April 2009
  Student Counselor
      • Interviewed consumer debtors, discussed strategies and explained options to clients.

  Thomson Reuters, Santa Clara, CA                                              March 2007 – April 2009
  Westlaw Student Representative
     • Assisted students in conducting legal research, organized trainings and seminars.

  EDUCATION
  Santa Clara University School of Law, Santa Clara, CA                                     JD, May 2009
  The Chinese University of Hong Kong, Hong Kong                          M.Phil. in Biology, August 2005
  The Chinese University of Hong Kong, Hong Kong                           B.Sc. in Biology, August 2002

  LAUGUAGES
      •   Fluent in Cantonese and Mandarin (written and spoken); conversational Italian.




Case: 22-03106       Doc# 65-4       Filed: 07/01/24      Entered: 07/01/24 14:31:03          Page 15
                                               of 18
                  EXHIBIT 3




Case: 22-03106   Doc# 65-4   Filed: 07/01/24   Entered: 07/01/24 14:31:03   Page 16
                                       of 18
                                                                                  INVOICE                                                1 of 1

  Talty Court Reporters, Inc.                                                    Invoice No.          Invoice Date             Job No.
  2131 The Alameda
  Suite D                                                                            190047            11/27/2023              116046
  San Jose, CA 95126                                                              Job Date                          Case No.
  T: 408-244-1900 F: 408-244-1374
                                                                                  11/17/2023              ADV. PROC. NO: 22-03106
                                                                                                       Case Name
                                                                             E. Mark Moon and Lori H. Moon vs. Milestone Financial, LLC

      Joyce Lau
      The Fuller Law Firm                                                                            Payment Terms
      60 N. Keeble Avenue
      San Jose, CA 95126                                                                             Due upon receipt




       Robert Schuman                                                                                                                    0.00
            Certification of Non-Appearance                                                1.00              @       350.000        350.00
                                                                                     TOTAL DUE >>>                                $350.00
                                                                                     AFTER 12/27/2023 PAY                          $367.50

 Thank you; we appreciate your business!
 You can now pay online at www.taltys.com




Tax ID: XX-XXXXXXX
                                          Please detach bottom portion and return with payment.

                                                                           Job No.       : 116046            BU ID         : 1-TALTY
                                                                           Case No.      : ADV. PROC. NO: 22-03106
  Joyce Lau                                                                Case Name : E. Mark Moon and Lori H. Moon vs. Milestone
  The Fuller Law Firm                                                                    Financial, LLC
  60 N. Keeble Avenue
                                                                           Invoice No. : 190047         Invoice Date : 11/27/2023
  San Jose, CA 95126
                                                                           Total Due     : $350.00
                                                                           AFTER 12/27/2023 PAY $367.50

                                                                              PAYMENT WITH CREDIT CARD

                                                                              Cardholder's Name:
                                                                              Card Number:
                                                                              Exp. Date:                    Phone#:
Remit To: Talty Court Reporters, Inc.                                         Billing Address:
          2131 The Alameda
                                                                             Zip:               Card Security Code:
          Suite D
          San Jose, CA 95126                                                 Amount to Charge:
                                                                             Cardholder's Signature:
           Case: 22-03106          Doc# 65-4       Filed: 07/01/24          Entered:   07/01/24 14:31:03 Page 17
                                                             of 18           Email:
                                                                                  INVOICE                                                  1 of 1

  Magna Legal Services                                                           Invoice No.          Invoice Date              Job No.
  Seven Penn Center
  1635 Market Street -8th Floor                                                      1216646            1/8/2024                1068464
  Philadelphia, PA 19103                                                          Job Date                         Case No.
  T: 215.207.9460 F: 215-207-2322
                                                                                  12/13/2023
                                                                                                       Case Name
                                                                             Mark E. Moon v. Milestone Financial LLC

      Bernard J. Kornberg, Esq.
      Practus                                                                                        Payment Terms
      58 W. Portal Ave.
      PMB 782                                                                                        Due upon receipt
      San Francisco, CA 94127


 1 CERTIFIED COPY OF TRANSCRIPT OF:
       Robert Schuman                                                                    150.00 Pages        @          6.350         952.50
             Exhibits - Scanned                                                           54.00              @          0.250              13.50
             Exhibit Handling                                                                1.00            @          5.950               5.95
             GoGreenScripts Lit Package                                                      1.00            @        45.000               45.00
                                                                                     TOTAL DUE >>>                                $1,016.95


 Location of Job   : Fuller Law firm
                     60 N Keeble Ave
                     San Jose, CA 95126

 Thank you, we appreciate your business!

 Balances unpaid in excess of 30 days shall bear interest at a rate of 18% simple interest per annum.

 WE ACCEPT VISA, MASTERCARD

                                                                                       ( - ) Payments/Credits:                              0.00
                                                                                       (+) Finance Charges/Debits:                          0.00
                                                                                       (=) New Balance:                           $1,016.95


Tax ID: XX-XXXXXXX
                                          Please detach bottom portion and return with payment.

                                                                           Job No.       : 1068464           BU ID          : California
                                                                           Case No.      :
  Bernard J. Kornberg, Esq.                                                Case Name : Mark E. Moon v. Milestone Financial LLC
  Practus
  58 W. Portal Ave.
                                                                           Invoice No. : 1216646             Invoice Date : 1/8/2024
  PMB 782
  San Francisco, CA 94127                                                  Total Due     : $1,016.95


                                                                              PAYMENT WITH CREDIT CARD

                                                                              Cardholder's Name:
                                                                              Card Number:
                                                                              Exp. Date:                    Phone#:
Remit To: Magna Legal Services LLC                                            Billing Address:
          P.O. Box 822804
                                                                             Zip:               Card Security Code:
          Philadelphia, PA 19182-2804
                                                                             Amount to Charge:
                                                                             Cardholder's Signature:
           Case: 22-03106           Doc# 65-4      Filed: 07/01/24          Entered: 07/01/24 14:31:03 Page 18
                                                                             Email:
                                                             of 18
